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                  EXHIBIT 9
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 1           UNITED STATES DISTRICT COURT

 2           FOR THE WESTERN DISTRICT OF NEW YORK

 3

 4           BLACK LOVE RESISTS IN THE RUST, et al.,
             individually and on behalf of a class of
 5           all others similarly situated,

 6                                         Plaintiffs,

 7            -vs-                                  1:18-cv-00719-CCR

 8           CITY OF BUFFALO, N.Y., et al.,

 9                                         Defendants.

10

11                 EXAMINATION BEFORE TRIAL OF RICHARD HY

12                           APPEARING REMOTELY FROM

13                            ERIE COUNTY, NEW YORK

14

15

16                                 July 19,      2023

17                             9:58 a.m.     -   5:37 p.m.

18                              pursuant to notice

19

20

21           REPORTED BY:

22           Carrie A.    Fisher, Notary Public

23           APPEARING REMOTELY FROM ERIE COUNTY,                 NEW YORK




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 1           R E M O T E        A P P E A R A N C E S

 2           APPEARING FOR THE PLAINTIFFS:

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             APPEARING FOR THE DEFENDANTS:
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                     HODGSON RUSS LLP
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 9                   Buffalo, New York 14202
                     (716) 848-1508
10
             ALSO PRESENT:
11
                     EVA LILIENFELD, Law Clerk
12                   Covington & Burling LLP

13                   GIOVANNI SCARCELLA, Law Clerk
                     Covington & Burling LLP
14
                     ANJANA MALHOTRA, ESQ.
15                   National Center for Law
                     and Economic Justice
16
17

18

19

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     .----------------RICHARD HY-----------------,


 1             Go ahead.

 2        A.   The checkpoint would have a number of cars in

 3             the center of the street or on the side with

 4             lights on so that we could be visible from a

 5             long distance away,           and vehicles would drive

 6             up to an officer in the center of the road or

 7             in that specific lane of travel.                  And the

 8             officer would identify vehicle and traffic

 9             violation;      for example,         bald tires or somebody

10             not wearing a seat belt or specifically

11             registration and inspections that were

12             expired,     and then they would issue a ticket

13             for those violations.

14                    If there were no violations seen,                       then

15             the vehicle was just told to carry on.                         Often

16             people would ask us,           you know,       what was the

17             checkpoint for.         We'd say inspection,

18             registration,       seat belt checks,           and then they

19             would carry on with their day.

20        Q.   Were inspection and registration violations a

21             focus for the Strike Force?

22        A.   Yes.

23                    MR.    SAHASRABUDHE:           Objection to form.




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     .------------------RICHARD H Y - - - - - - - - - - - - - - - - ,


 1        Q.   Why is that?

 2                     MR.    SAHASRABUDHE:          Objection to form.

 3        A.   I   -- I'm not sure what you're asking is why is

 4             what?

 5        Q.   Did your superiors inform you that inspection

 6             and registration violations were a focus for

 7             the Strike Force?

 8        A.   Yes.

 9        Q.   And did they tell you why they -- the Strike

10             Force had that focus?

11        A.   I don't remember if they gave us specific

12             guidance as to why that was.                    I   just don't

13             remember.        I'm sorry.

14        Q.   That's okay.         That's fine to not remember.

15                     As a Strike Force officer,                   what was your

16             role in the checkpoints?

17        A.   Usually when an officer that was in that

18             center lane or on the specific lanes of travel

19             saw a violation and then was going to go write

20             up that vehicle,         that officer would take the

21             identification of the person,                   tell them to go

22             park to the side,         and then create that traffic

23             summons.       They would then get replaced by an




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     .----------------RICHARD HY-----------------,


 1             officer that was not doing that.

 2                   So if you can imagine kind of like a

 3             circular diagram where you have an officer at

 4             the checkpoint,     sees a violation,            stops the

 5             vehicle,   issues the summons,           and then returns

 6             to that point to check more vehicles.                   In that

 7             circle you're having other officers replace

 8             the officer that steps off the line.                  So

 9             that's kind of I guess the way that you would

10             describe it is a round-robin kind of rotating

11             who is up next to start seeing which

12             violation,    if any,       there are in the oncoming

13             traffic.

14        Q.   So just to make sure I understand correctly,

15             if an officer stopped a driver at a checkpoint

16             initially,    they would continue to engage with

17             that driver throughout the driver's duration

18             at that checkpoint?

19        A.   It could be that singular officer that saw

20             that or it could be their partner that was

21             next to them that also viewed the violation.

22             So you could have an instance where myself and

23             a partner -- we will say Officer Pitts was my




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     .----------------RICHARD HY-----------------,


 1             understand that if I use that term?

 2        A.   Yes.

 3        Q.   Okay.     So in what instances would a motorist

 4             be referred to a secondary inspection?

 5                     MR.    SAHASRABUDHE:          Objection to form.

 6             Go ahead.

 7        A.   Well,    I'm not sure what you mean by "a

 8             secondary inspection."

 9        Q.   All right.        So when you noticed a violation,

10             what would you do with that motorist?

11        A.   Oh.     If we were at a checkpoint and I was the

12             officer in the middle of the road or in those

13             lanes of travel and I            saw an infraction for a

14             vehicle driving up,            let's say an inspection

15             because they're so easy to see with the

16             different color and obviously the big hole in

17             the middle of the month,              I would say:        "Hey,

18             how you doing today?            My name is Officer Hy,

19             Buffalo Police Department.               Hey,    what's going

20             on with the inspection?               Your inspection is

21             overdue."

22                     And I would make a conversation with the

23             driver to see if they were aware of it.                        And




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     .----------------RICHARD HY-----------------,


 1             then I would ask them for their ID,                  and then I

 2             would ask them to pull over to the side of the

 3             road.     And then I would walk over to them and

 4             I would continue my conversation about the

 5             inspection sticker and any other violations

 6             that I might have seen.

 7        Q.   Were there any violations for which it was not

 8             necessary to have a motorist pull over to the

 9             side of the road to continue that interaction?

10                     MR.    SAHASRABUDHE:          Objection to form.

11        A.   I don't know what that means.

12        Q.   So you mentioned that -- for example for an

13             inspection sticker,            if you noticed a

14             violation,       you would have them pull over to

15             continue the interaction with the motorist;                    is

16             that -- that's correct?               Am I understanding

17             that right?

18        A.   I think so.         I want to make sure.            You're

19             saying that if I         saw an infraction,          I would

20             ask them to pull over and then we would

21             continue our conversation?

22        Q.   Yes.     Is that correct?

23        A.   Yes,    that is correct.




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     .----------------RICHARD HY-----------------,


 1        Q.   And was there any violation,             any violation for

 2             which you didn't ask them to pull over;                    it

 3             wasn't necessary to engage in that secondary

 4             stop on the side?

 5        A.   I have seen

 6                   MR.    SAHASRABUDHE:          Objection to form.

 7        A.   I've seen violations before and then still

 8             told people to,      you know,       carry on,       like bald

 9             tires or people that were on their way to get

10             the vehicle inspected and they were able to

11             provide a,     like a -- not a receipt but like a

12             handbill stating they were scheduled for

13             something at like Dunn Tire.                  But every time I

14             saw an infraction I didn't always issue a

15             ticket,    if that's what you're asking.

16        Q.   How did you determine when you would issue a

17             ticket and when you wouldn't if you saw an

18             infraction?

19        A.   Oh geez,    there were a lot of factors involved

20             in that.

21        Q.   What factors?

22        A.   Like you're able to look up a person's history

23             when you're writing a ticket.                  So if I'm




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     .----------------RICHARD HY-----------------,


 1        Q.   In addition to being aware of that,                 do you

 2             recall any concrete steps that you were

 3             instructed on taking to -- in light of -- in

 4             light of the possibility of interacting with

 5             minority communities?

 6                     MR.   SAHASRABUDHE:        Objection to form.

 7        A.   Could you say that again?

 8        Q.   Sure.     You mentioned that the -- you had

 9             conversations about the awareness of policing

10             in minority neighborhoods,             correct?

11        A.   Yes.

12        Q.   Did those conversations include any sort of

13             concrete steps or action items that you could

14             take to improve policing in those minority

15             neighborhoods?

16                     MR.   SAHASRABUDHE:        Objection to form.

17        A.   From what I     remember,      it was more of an

18             understanding of seeing things -- I'm being

19             very general here,          of seeing things through

20             other people's eyes and experiences that

21             others may have are not your own and to treat

22             everybody as an individual and not,                 you know,

23             specifically based on,          you know,       like race,




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     .------------------RICHARD H Y - - - - - - - - - - - - - - - - ,


 1             color,    creed,   etcetera.       You're supposed to be

 2             kind of blind to what makes up the individual

 3             and more open up to listening to the

 4             individual.

 5        Q.   Did you have any specific concerns about

 6             policing in neighborhoods of color?

 7        A.   No.

 8                      MR.   SAHASRABUDHE:       Objection to form.

 9        Q.   Did you feel you were adequately prepared by

10             the BPD to do so?

11                      MR.   SAHASRABUDHE:       Objection to form.

12        A.   Yes.

13        Q.   And was that preparation in virtue of that one

14             training you're mentioning,            or were there

15             other things that you feel prepared you to do

16             that type of policing?

17                      MR.   SAHASRABUDHE:       Objection to form.

18        A.   Specifically the field training program that

19             not only the law            Erie County Law

20             Enforcement Academy puts you through but also

21             the City of Buffalo,         Buffalo Police

22             Department's field training program.

23        Q.   Would you describe that field training program




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     .----------------RICHARD HY-----------------,


 1             in more detail?

 2        A.   So the similarities between the Erie County

 3             Law Enforcement and the City of Buffalo's

 4             field training program are that you are

 5             embedded with your department,                whoever you're

 6             going to be working for,            whoever has hired

 7             you.     For a certain period of time we are

 8             doing the left see,          right see where there is a

 9             field training officer,            usually a senior

10             officer who's got -- who's gone through some

11             field officer training so they're not just a

12             normal patrolman but a normal patrolman that's

13             also been -- gone through a course in how to

14             guide,    mentor the next generation of police

15             officers.

16                      And you go to calls,             you're evaluated by

17             your first-line lieutenants and leaders and in

18             this on-the-job experience you get to learn,

19             see,   and digest how your field training

20             officer,    and you can jump around from one to

21             the other and go to different districts,                     deals

22             with or interacts with different members of

23             the co mm unity,    race ,    co 1 or ,    creed,   re 1 i g ion ,




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     .------------------RICHARD H Y - - - - - - - - - - - - - - - - ,


 1             you know,      ethnic background,           all of these

 2             things you get to see in person.

 3        Q.   Were you ever a field training officer while

 4             in the BPD?

 5        A.   No.    No,    not yet.        I was in the academy,          but I

 6             wasn't a field training officer.

 7        Q.   And when you participated in that field

 8             training program,         do you recall being

 9             instructed on racial bias or racially biased

10             policing in any way?

11                     MR.    SAHASRABUDHE:         Objection to form.

12        A.   No.

13        Q.   But you mentioned that you do feel that the

14             field training program adequately prepared you

15             to police in Buffalo's neighborhoods of color?

16                     MR.    SAHASRABUDHE:         Objection to form.

17        Q.   Is that correct?

18        A.   Yes.

19        Q.   So do you feel that there is not any specific

20             racial bias training necessary to adequately

21             prepare you to police in Buffalo's

22             neighborhoods of color?

23                     MR.    SAHASRABUDHE:         Objection to form.




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